                        4:18-cv-04063-SEM-TSH # 109-2             Page 1 of 4
                                                                                                          E-FILED
                                                                          Tuesday, 28 April, 2020 12:22:12 PM
                                                                                Clerk, U.S. District Court, ILCD

                             UNITED STATES DISTRICT COURT
                          FOR THE CENTRAL DISTRICT OF ILLINOIS

AARON O’NEAL #N53022,                           )
                                                )
         Plaintiffs,                            )
vs.                                             )
                                                )
JOHN BALDWIN, DIRECTOR,                         )
ILLINOIS DEPARTMENT OF                          )
CORRECTIONS, in his official and                )
individual capacity; MANUEL ROJAS, in           )
his official and individual capacity;           )
STEPHANIE DORETHY, in her official              ) Case No.:       18-CV-4063-SEM-TSH
and individual capacity; FREDDIE                )
BRITTON, in his official and individual         )
capacity; ROBERT RODRIGUEZ, in his              )
official and individual capacity; JOE           )
LAHOOD, in his official and individual          )
capacity JOHN FROST, in his official and        )
individual capacity; STEVE GANS, in his         )
official and individual capacity, MELISSA       )
PHOENIX, in her official and individual         )
capacity,                                       )
                                                )
                 Defendants.                    )

                          DECLARATION OF ROBERT RODRIGUEZ

         I, Robert Rodriguez, being first duly sworn upon oath, declare that I have personal

knowledge of the facts set forth herein, that I am competent to testify, and that if called to testify,

would state as follows:

      1. I am a Deacon for the Catholic Church, specifically the Peoria Diocese.
      2. I have participated and volunteered with prison ministries for 16 years.
      3. As a Deacon in the Catholic Church, I do not receive any payment, stipend or
         remuneration from the Catholic Church for performing my duties as a Deacon.
      4. I was ordained as a Deacon on May 19, 2012.
      5. My duties as a Deacon are to serve during Catholic mass and communion as scheduled
         by my local pastor, and assist the local pastor and other services such as baptisms
         marriages or funerals as needed or requested.


                                              EXHIBIT 2
                  4:18-cv-04063-SEM-TSH # 109-2              Page 2 of 4




6. I volunteer at Henry C. Hill Correctional Center as a volunteer clergy member through
   the Prison Ministries for the Peoria Diocese of the Catholic Church.
7. My direct supervisor for my role as a volunteer clergy member at Henry Hill Correctional
   Facility is the Pastor of the Galesburg Catholic Community of the Peoria Diocese.
8. As a volunteer clergy member, I do not receive any payment, stipend or remuneration for
   any of my volunteer work performed at Henry Hill Correctional Facility.
9. To my knowledge, the Peoria Diocese of the Catholic Church does not receive any
   federal funds from the United States Federal Government.
10. I am not employed by Henry C. Hill Correctional Center, the Illinois Department of
    Corrections, or the State of Illinois.
11. I do not have any authority over any inmate, employee, or administrative personnel at
    Henry C. Hill Correctional Center or the Illinois Department of Corrections.
12. I hold no official position within Henry C. Hill Correctional Center. The facility’s
    Chaplain is Manuel Rojas.
13. I volunteer at Henry C. Hill Correctional Center as a volunteer clergy member. I do not
    receive any payment, stipend or remuneration for any of my volunteer work performed at
    Henry Hill Correctional Facility.
14. Participation in Prison Ministries for the Peoria Diocese of the Catholic Church is on a
    voluntary and unpaid basis. There is no budget for the prison ministry, and all volunteers
    do not receive any payment, stipend, or remuneration. Any items used by the Prison
    Ministries are donated by local parishes or the Diocese of Peoria for that use.
15. In my role as a volunteer clergy member at Henry C. Hill Correctional Center, I help
    present weekly communion services, assist with bi-monthly masses, provide an
    Adoration of the Blessed Sacrament once per month, provide bible study and sacrament
    instructions several times per month, take attendance at services, and assist with Cursillo
    teams at the Illinois Department of Corrections.
16. I, and the Peoria Diocese of the Catholic Church, solely participate in religious services
    provided on a volunteer basis through the Prison Ministries program. I restrict my
    actions solely to ecclesiastical functions, providing religious services, and teaching the
    doctrines of the Catholic Church.
17. I do not, nor does the Peoria Diocese of the Catholic Church, inform or advise Henry Hill
    Correctional Facility or the Illinois Department of Correction in relation to the specificity
    of Catholic tenants of religion.
18. While we provide religious services such as participating in worship services and
    meetings, including Cursillo, I do not control nor can make any decisions on who may or
    may not attend these services.
                  4:18-cv-04063-SEM-TSH # 109-2              Page 3 of 4




19. Determination of whether any one particular inmate may attend a religious service is
    made by employees at that particular inmate’s correctional facility.
20. I am not required to perform any specific actions or provide any specific information to
    any employees at Henry Hill Correctional Facility or the Illinois Department of
    Corrections, as I am a volunteer clergy member. If Henry Hill Correctional Facility
    officials or employees seek information in relation to incident reports involving any of
    the services I provide on a volunteer basis, I cooperate with any investigation.
21. I am not responsible for, nor have any authority over, any dietary issues, requirements, or
    meal plans within Henry Hill Correctional Facility.
22. I am not involved in any facet of the Henry Hill Correctional Facility or the Illinois
    Department of Corrections’ decision making process for providing religious diets for
    prison inmates. I do not handout, receive, or file any forms requesting religious diets. I
    do not participate in any review of any requests for a religious diet. I do not participate in
    any decision making process on whether a religious diet will be provided.
23. I, nor the Peoria Diocese of the Catholic Church, participate in any secular matter,
    decision making, or grievance procedure, in relation to Henry Hill Correctional Facility
    or the Illinois Department of Corrections.
24. I have occasionally had conversations with Chaplain Rojas regarding religious dietary
    meals pertaining to Catholic inmates between 2005 and 2012. However, I did not
    participate in determining or setting any policy, reviewing, or ruling on any religious diet
    request, nor did I participate in any review or decision making on whether any particular
    inmate would receive a special religious diet.
4:18-cv-04063-SEM-TSH # 109-2   Page 4 of 4
